Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 1 of 58




                      Exhibit A
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 2 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 3 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 4 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 5 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 6 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 7 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 8 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 9 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 10 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 11 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 12 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 13 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 14 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 15 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 16 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 17 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 18 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 19 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 20 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 21 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 22 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 23 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 24 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 25 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 26 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 27 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 28 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 29 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 30 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 31 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 32 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 33 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 34 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 35 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 36 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 37 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 38 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 39 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 40 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 41 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 42 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 43 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 44 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 45 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 46 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 47 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 48 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 49 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 50 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 51 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 52 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 53 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 54 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 55 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 56 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 57 of 58
Case 09-10138-MFW   Doc 17944-1   Filed 02/22/17   Page 58 of 58
